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                   Exhibit H
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1                           IN THE UNITED STATES

 2                        DISTRICT COURT FOR THE

 3                        DISTRICT OF CONNECTICUT

 4

 5   - - - - - - - - - - - - - x
                               :
 6   BLACK WIDOW TERMITE & PEST:
     CONTROL CORP.,            :
 7                             :
        Plaintiff              : CIVIL ACTION NO.
 8                             : 3:23-cv-01246
                  VS           :
 9                             : DECEMBER 5, 2024
     BLACK WIDOW PEST          :
10   SPECIALIST LLC,           :
                               :
11      Defendant              :
                               :
12   - - - - - - - - - - - - - x

13

14

15                                VIDEOTAPED

16

17                        (VIA ZOOM) Deposition of BRIDGETTE

18        OLIVIA BURR, taken pursuant to Rule 45 of the

19        Federal Rules of Civil Procedure on Thursday,

20        December 5, 2024 at 10:00 AM before LOUISE E.

21        BOUTEILLER, CSR, a Connecticut Shorthand

22        Reporter and a Notary Public in the State of

23        Connecticut.

24

25
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                                                                     Page 2
1

 2

 3

 4   A P P E A R A N C E S:

 5

 6   FARBER, LLC
     BY: JONATHAN A. WINTER, ESQ.
 7        SAMANTHA GEROLD, ESQ.
          4 Corporate Drive
 8        Suite 287
          Shelton, Connecticut 06484
 9        j.winter@farberllc.com
          samantha.gerold@farberllc.com
10
            Representing the Plaintiff
11

12   COHEN & WOLF, PC
     BY: WILSON T. CARROLL, ESQ.
13        P.O. Box 1821
          Bridgeport, Connecticut 06601
14        wcarroll@cohenandwolf.com

15          Representing the Defendant

16

17   ALSO PRESENT:

18   Iveth Zepeda, Videographer

19

20

21

22

23

24

25
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 1                           EXHIBIT INDEX

 2
     PLAINTIFF'S EXHIBITS                                           PAGE
 3   FOR IDENTIFICATION
     ID#
 4
     16 - Logo                                                      6
 5
     25 - Logo                                                      6
 6
     26 - Black000133                                               6
 7
     27 - Truck                                                     6
 8
     37 - Subpoena                                                  6
 9
     39 - Logo                                                      6
10
     40 - Contact info document/confusion                           6
11
                               * * * * * *
12

13   DEFENDANT'S EXHIBITS                                           PAGE
     FOR IDENTIFICATION
14   ID#

15   (None.)

16
                                * * * * *
17
     (The Exhibits are attached to the transcript.)
18

19

20

21

22

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24

25
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                                                                     Page 5
 1
 2
 3                S T I P U L A T I O N S
 4
 5                  IT IS HEREBY STIPULATED AND AGREED
 6   by and among counsel for the respective
 7   parties hereto, that all technicalities as to
 8   the proof of the official character of the
 9   authority before whom the deposition is to be
10   taken are waived.
11
12                  IT IS FURTHER STIPULATED AND AGREED
13   by and among counsel for the respective
14   parties hereto, that the deposition transcript
15   may be signed before a Notary Public or
16   Commissioner of the Superior Court.
17
18                  IT IS FURTHER STIPULATED AND AGREED
19   by and among counsel for the respective
20   parties hereto, that all objections, except as
21   to form, are reserved to the time of trial.
22
23                              oOo
24
25
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                                                                      Page 6
 1
 2           (Documents were submitted by
 3   Attorney Winter as PX-16, PX-25, PX-26,
 4   PX-27, PX-37, PX-39, PX-40.)
 5           (On the stenographic record only.)
 6           THE COURT REPORTER:            Are all
 7   counsel going to require a copy of the
 8   deposition transcript?
 9           MR. WINTER:       Yes.
10           MR. CARROLL:       Yes.
11           (On the stenographic and video
12   record - recording in progress.)
13           THE VIDEOGRAPHER:         Okay.      Good
14   morning.
15           MR. WINTER:       Okay.    If you'd like
16   to swear in the witness?
17           THE VIDEOGRAPHER:         No, please
18   wait.
19           MR. WINTER:       Oh, okay.
20           THE VIDEOGRAPHER:         I need to do
21   the read-on.
22           MR. WINTER:       Okay.
23           THE VIDEOGRAPHER:         Good morning.
24   Please note that this video deposition
25   is being conducted mutually.              The
 Case 3:23-cv-01246-RNC   Document 123-10   Filed 06/18/25   Page 8 of 31



                                                                     Page 7
1    quality of the recording depends on the
 2   camera and internet connection of the
 3   participants.
 4           Kindly mute your phones at this
5    time, and speak clearly and loudly to
6    assure good audio and video quality.
7            This is the beginning of Media
8    Number 1 in the deposition of Bridgette
9    Olivia Burr in the matter of Black
10   Widow, et al. vs. Black Widow Pest
11   Specialist, LLC, Case Number
12   3:23-cv-01246.
13           Today's date is December 5th,
14   2024, and the time on the monitor is
15   10:19 AM.
16           My name is Iveth Zepeda, and I am
17   the Videographer.         The Court Reporter is
18   Louise Bouteiller.         We are here with
19   Huseby Global Litigation.
20           Counsel, please introduce
21   yourselves, after which the Court
22   Reporter will swear in the witness.
23           MR. WINTER:       Morning.      Jonathan
24   Winter.     Also with me is Samantha Gerold
25   representing the Plaintiff.
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                                                                     Page 8
1                          MR. CARROLL:      Good morning.
 2                 Wilson Carroll on behalf of the
 3                 Defendant, Black Widow Pest Specialist.
 4                         BRIDGETTE OLIVIA BURR,
 5        of 7 Greenknoll Drive, Brookfield, Connecticut
 6        06804, having been duly sworn by LOUISE E.
 7        BOUTEILLER, CSR, a Connecticut Shorthand
 8        Reporter and a Notary Public in and for the
 9        State of Connecticut, was examined and
10        testified as follows:
11                        DIRECT EXAMINATION
12   BY MR. WINTER:
13            Q    Thank you, Ms. Burr, and thank you for
14   joining us this morning.
15                 As you may know, I represent Black Widow
16   Termite & Pest Control Corp., the Plaintiff.
17                 Are you represented by an attorney
18   today?
19            A    No.
20            Q    So our Videographer sort of mentioned
21   this earlier, but what we're going to do is I'll
22   ask some questions.        From time-to-time, Mr. Carroll
23   may object.     After he objects, then you should
24   answer that question; but because the Court
25   Reporter is taking everything down because it's on
 Case 3:23-cv-01246-RNC   Document 123-10   Filed 06/18/25   Page 10 of 31



                                                                      Page 9
1    Zoom, I'll try to speak, ask my question; we'll
 2   give time to for Mr. Carroll to object, if
 3   anything, and then you'll speak, just so we're not
 4   talking over anybody.         Do you understand?
5            A     Yes.
6            Q     And then the Court Reporter can't take
7    down head nods or gestures, so we need verbal
8    answers so that she can type down everything that's
9    said.     Do you understand?
10           A     Yup.
11           Q     Is there any reason that you cannot
12   testify truthfully today?
13           A     No.
14           Q     Have you ever been deposed before?
15           A     No.
16           Q     Have you ever testified under oath
17   before?
18           A     No.
19           Q     Okay.    So I sent you a DropBox link to
20   some documents, which I'll refer to from
21   time-to-time.
22                 I'm going to share the first one on the
23   screen here, which is marked as PX 37.
24   (Indicating.)
25                 Do you see that?
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                                                                     Page 10
1             A    Yes.
 2            Q    And is this a subpoena that you received
3    in order to appear at this deposition today?
4             A    Yes.
5             Q    Okay.    Can you tell me -- tell me where
6    you live?
7             A    I live at 7 Greenknoll Drive in
8    Brookfield, Connecticut.
9             Q    And are you employed or in school?
10            A    I'm in school right now getting my
11   master's degree.
12            Q    Where in school?
13            A    Southern Connecticut.
14            Q    And a master's degree in what?
15            A    Education.
16            Q    So at some point were you ever -- did
17   you ever become aware of a company called Black
18   Widow?
19            A    Yes.
20            Q    And when was the first time that you
21   were aware of any company called Black Widow?
22            A    It was Summer of 2023.          We had bats,
23   like, above our garage.         So my mother called the --
24   like, someone to come take care of the bats, and
25   they were called Black Widow.
 Case 3:23-cv-01246-RNC   Document 123-10   Filed 06/18/25   Page 12 of 31



                                                                     Page 11
1             Q    And when they came to take care of the
 2   bats, were you there?
 3            A    I was.     I was home.      I didn't, like,
 4   talk to -- like, there were times when my mom just
 5   talk to them.        There were times we both talked to
 6   them; but, yes, I was home.
 7            Q    And did you see -- did you see their
 8   trucks or what they were wearing?
 9            A    Yes.
10            Q    Did you see any logos on that -- on that
11   truck?
12            A    Yes, I -- I believe it said Black Widow.
13   I don't -- I know -- I don't remember the exact,
14   like, after Black Widow, yes.
15            Q    And so how long were you -- was that
16   meeting or that service appointment roughly?
17            A    They -- they came one time over the
18   summer, like, to check things out.              I -- I don't
19   know the exact date; but I remember they told us,
20   like, bats, you can't do anything about until,
21   like, the -- like, birthing season's over because
22   they're, like, protected in Connecticut.
23                 So they ended up -- I think after
24   August, they had to come back to actually do the
25   work to install the things, like, the one way -- I
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                                                                     Page 12
1    don't know what they're called, but for the bats to
 2   leave.
 3            Q    All right.      And were you there both
4    times that they came?
5             A    I was -- yes, I was home, like, the time
6    they came to look.        Like, I was with my mom and she
7    showed them around, and then the time that they
8    were here, like, doing the work, I was, like, in
9    and out because they were here, like, all day.
10            Q    Got it.
11                 So -- so then you would have seen --
12   you'd have seen those individuals and their trucks
13   and their logos more than once, is that correct?
14            A    Yes.
15            Q    And were they -- were their shirts --
16   did they have logos on their shirts?
17            A    If I can remember correctly, they were
18   wearing, like -- I believe they were wearing black
19   shirts with, like, red writing.            (Indicating.)
20            Q    Okay.     I'm going to share a document
21   that is marked PX 39. (Indicating.)
22                 Is this the logo you saw at that time?
23            A    I -- I think so.
24            Q    And so at some point thereafter, were
25   there bats again in your -- in the house?
 Case 3:23-cv-01246-RNC   Document 123-10   Filed 06/18/25   Page 14 of 31



                                                                     Page 13
1             A    Yes.    Like, I don't know the exact date.
2    A couple months after.         It might have been the Fall
3    of 2023, there was a bat in our -- inside of the
4    house, like -- when we originally had them, they
5    were (Indicating) on the thing above the garage;
6    but, yes, then there was just one inside the house
7    by the fireplace, and they -- and we called and
8    they came back to just take it out.
9             Q    And when you -- when you called -- did
10   you call them?
11            A    Yes, I called them that -- that's the
12   first time I ever called them.
13                 Before, like, it was all -- everything
14   was done through my mom, like, the big thing.
15                 I called them that time because my mom
16   was traveling, so I had to call to get the bat out
17   of the house.
18            Q    And how did you find their phone number
19   to call?
20            A    I just looked it up on Google.
21            Q    Do you remember what you searched Google
22   he'll?
23            A    Like, Black Widow Pest Control.
24            Q    So you would have searched the word
25   Black Widow Pest and Control, just put that in on
 Case 3:23-cv-01246-RNC    Document 123-10   Filed 06/18/25   Page 15 of 31



                                                                      Page 14
 1   Google and called the first one you found, is that
 2   correct?
 3           A      Yes.     Yes, and I called the first one
 4   that I found, and they told me that I was not a
 5   customer, so it was the wrong number.
 6           Q      Got it.
 7                  So I'm going to show you a document
 8   that's been marked PX 40.
 9                  Actually, let me -- let me put this in
10   your folder first, just so you have it in case you
11   want it.     (Indicating.)
12                  Do you see this document here?
13           A      Yes.
14           Q      It's a -- this says Richelle Burr, and
15   then you see a phone number under there.                   Do you
16   see that phone number?
17           A      Yes.
18           Q      Is that your personal phone number?
19           A      Yes, that's my phone number, and that's
20   my mom's name.
21           Q      And is there a reason you would have
22   given your mom's name when you called?
23           A      Yes, probably because she was the
24   customer who did the business with them.
25           Q      Got it.
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                                                                      Page 15
1                  And so is this an accurate
 2   representation of the record of you calling the
 3   company that said you were not a customer that you
 4   mentioned before?
 5           A     Yes.
6                          MR. CARROLL:       Objection.
 7   BY MR. WINTER:
 8           Q     And so was this after you did the Google
 9   search that we mentioned before, and you found a
10   phone number?
11           A     Yes.
12           Q     Is there anything else that you recall
13   about this phone conversation or anything that was
14   said?
15           A     I just remember them saying, like, that
16   I was, like -- I explained how my mom was a
17   customer.     Like, I gave her names so they could
18   look it up, and they said that they never -- I
19   think they said they were from New York.
20           Q     Got it.
21                 Let me -- okay.          I'm going to show you
22   something that has been marked -- oh, sorry -- PX
23   25. (Indicating.)
24                 Do you see that here?
25           A     Yes.
 Case 3:23-cv-01246-RNC   Document 123-10   Filed 06/18/25   Page 17 of 31



                                                                     Page 16
1             Q    In that first call where you called
 2   someone, you said they were from New York
 3   referenced in PX -- which one of these logos do you
 4   believe you called?
 5            A    I have no idea.
6                  I just called the first one that came up
7    on Google and then when they told me it was the
8    wrong number, my mom sent to me the number that was
9    the right number; but, yes, with the, like, logos,
10   I never -- I don't know.
11            Q    Okay.    Do these logos look similar to
12   you?
13                         MR. CARROLL:      Objection.
14                         THE WITNESS:      Yes.
15   BY MR. WINTER:
16            Q    Why do they look similar to you?
17            A    Just, like, the -- well, like, what's
18   confusing for me when I was trying to find the
19   number and stuff is they both start with Black
20   Widow.
21                 Like, I don't know -- I still don't know
22   which one, like, the ending of the one that
23   actually, like, gave us the service.               I just know
24   that it was Black Widow.
25            Q    When you -- when you saw the -- the
 Case 3:23-cv-01246-RNC   Document 123-10   Filed 06/18/25   Page 18 of 31



                                                                     Page 17
1    trucks at your house back in the summer when they
 2   first came, did you testify earlier that you saw
 3   red and black in the color scheme?
 4                         MR. CARROLL:      Objection.
 5                         THE WITNESS:      Yes.
 6   BY MR. WINTER:
 7            Q    I'm going to share PX 27 -- where's my
 8   share?
 9                 (Indicating.)       You see PX -- Plaintiff's
10   Exhibit 27 in front of you there?
11            A    Mm-hmm, yes.
12            Q    I'm going to zoom in so you can see it a
13   little better.        (Indicating.)
14                 Does that appear to be one of the trucks
15   that you saw at your house in the Summer of 2023?
16            A    Yes, I believe so.
17            Q    And then I'm going to see if I can pull
18   in PX 26 here.
19                 (Indicating.)       See PX 26 here?
20            A    Yes.
21            Q    Okay.    I'm going scroll this, all the
22   pages.
23                 Do you see any -- any T-shirts or
24   designs that you would have seen in -- in anytime
25   that this company came to service your house?
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                                                                     Page 18
1    (Indicating.)
 2           A     I think just the -- the black T-shirt on
3    the second page.
4            Q     (Indicating.)       This -- this one in front
 5   of you here?
 6           A     Yes.
 7           Q     So at the bottom, this is marked -- the
 8   bottom right here, Black000133. (Indicating.)
 9                 Do you see that?
10           A     Yes.
11           Q     So you recall seeing this logo in August
12   when they visited your house, is that correct?
13           A     Yes.
14           Q     Would you agree that you were confused
15   between the two companies when you called in
16   November of 2023?
17                         MR. CARROLL:      Objection.
18                         THE WITNESS:      Yes.
19   BY MR. WINTER:
20           Q     Is there any other reasons that you
21   think you were confused, other than use of the
22   Black Widow words?
23           A     Probably because I wasn't the word who
24   ever called them in the first place, so I didn't
25   have the correct number, and I didn't know the
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                                                                     Page 19
1    ending, like, that says Pest Specialist.                 Like, I
2    didn't recall what the ending was.              I just knew it
3    was Black Widow.
4            Q     Okay.    And so after the call to the New
 5   York company that we showed you in -- in PX 40, did
 6   you then call -- you then spoke with your mom to
 7   get the correct number, is that accurate?
 8           A     Yes.
 9           Q     And then thereafter, did a company come
10   to handle the bat?
11           A     Yes.
12                         MR. WINTER:      I don't have anymore
13                 questions.
14                         Wilson, if you have any?
15                         MR. CARROLL:      No, no more
16                 questions.
17                         MR. WINTER:      I think that's it.
18                         THE WITNESS:      Okay.
19                         MR. WINTER:      And, Miss Court
20                 Reporter, do you have anything before we
21                 end this?
22                         THE VIDEOGRAPHER:         Excuse me,
23                 Counsel.     I'm the Videographer.           Are you
24                 going to order the copy of the video?
25                         MR. WINTER:      Yes.
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                                                                     Page 20
 1             THE VIDEOGRAPHER:       And do you want
 2    it expedite or when?
 3             MR. WINTER:     Just -- what's
 4    regular, like 14 days or something?
 5             THE VIDEOGRAPHER:       Yes.
 6             MR. WINTER:     That's fine.
 7             MR. CARROLL:      I do not need a copy
 8    of the video.
 9             THE VIDEOGRAPHER:       Okay.        And do
10    you want it synchronized with exhibits
11    -- I'm sorry, with the transcript?
12             MR. WINTER:     Yes, please.
13             THE VIDEOGRAPHER:       Okay.        And can
14    you please give me your e-mail on the
15    chat so we can send over the order?
16             Also, Madam Court Reporter, can
17    you please give me your e-mail, too?
18             THE COURT REPORTER:          Sure.     Let me
19    just shoot that over to you on the chat.
20            THE VIDEOGRAPHER:        Thank you.
21            Is the J in "Jon" is capital,
22    right?
23            MR. WINTER:      It doesn't matter.
24            THE VIDEOGRAPHER:        Oh.
25            MR. WINTER:      It's just
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                                                                      Page 21
 1    j.winter@farberllc.com.
 2            THE VIDEOGRAPHER:         Okay.      Thank
 3    you very much.
 4            Okay.       So we are going off the
 5    record.     The time is 10:37 AM.
 6
 7            (Whereupon the witness was excused
 8    and the deposition adjourned at 10:37 AM
 9    on Thursday, December 5, 2024.)
10
11
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                                                                     Page 22
 1                        C E R T I F I C A T E

 2

 3            I hereby certify that I am a Notary Public,

 4   in and for the State of Connecticut, duly

 5   commissioned and qualified to administer oaths.

 6            I further certify that the deponent named in

 7   the foregoing deposition was by me duly sworn (via

 8   Zoom), and thereupon testified as appears in the

 9   foregoing deposition (via Zoom); that said

10   deposition was taken by me stenographically in the

11   presence of counsel (via Zoom) and reduced to

12   typewriting under my direction, and the foregoing

13   is a true and accurate transcript of the testimony.

14            I further certify that I am neither of

15   counsel nor attorney to either of the parties to

16   said suit, nor of either counsel in said suit, nor

17   am I interested in the outcome of said cause.

18            Witness my hand and seal as Notary Public

19   this 9th day of December, 2024.

20

21                                 ____________________________
                                   LOUISE E. BOUTEILLER
22                                 Notary Public

23   My commission expires:

24   1/31/2029

25
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                                                                      Page 23
 1                        CERTIFICATE OF DEPONENT

 2

 3       I, BRIDGETTE OLIVIA BURR, have read the

 4   foregoing transcript of the testimony given at the

 5   deposition on December 5, 2024, and it is true and

 6   accurate to the best of my knowledge and/or with

 7   the changes as noted in the attached errata sheet.

 8

 9                               ______________________________

10                               BRIDGETTE OLIVIA BURR

11
     Subscribed and sworn to before me on this the
12

13   ______________________ day of ___________________,

14

15   20________.

16

17                               _______________________

18

19                               Notary Public

20

21   My commission expires:

22

23   _________________________

24

25
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                                                                     Page 24
 1
                               ERRATA SHEET
 2

 3   NAME OF CASE: BLACK WIDOW TERMITE & PEST CONTROL
     CORP. VS. BLACK WIDOW PEST SPECIALIST LLC
 4
     NAME OF DEPONENT:        BRIDGETTE OLIVIA BURR
 5
     DATE OF TESTIMONY:        December 5, 2024
 6
     Please note any errors or corrections on this
 7   sheet. The rules require a reason for any change
     or correction. It may be general, such as "to
 8   correct stenographic error," or "to clarify the
     record."
 9                       CORRECTIONS

10   Page Line            Correction              Reason for change

11   ___________________________________________________

12   ___________________________________________________

13   ___________________________________________________

14   ___________________________________________________

15   ___________________________________________________

16   ___________________________________________________

17   ___________________________________________________

18   ___________________________________________________

19   ___________________________________________________

20   ___________________________________________________

21   ___________________________________________________

22   ___________________________________________________

23   ___________________________________________________

24   ___________________________________________________

25   ___________________________________________________
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